Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 1 of 72 PageID #:1263




                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF ILLINOIS




 MEGAN MASON,                           Case Number: 1:22-CV-2315
 Plaintiff;


 Vs.

 Iris Martinez, Defendant, et al;       ORAL ARGUMENT IS REQUESTED




   PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY RESTRAINING

                     ORDER AND PRELIMINARY INJUNCTION
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 2 of 72 PageID #:1264




TEMPORARY RESTRAINING ORDER SOUGHT ON AN IMMEDIATE (Ex Parte)

                                            BASIS

I ask this court to:

  I.    Issue a restraining order effective for fourteen days to immediately enjoin any

        defendant named in this suit, specifically Iris Martinez, Robert Johnson, Kaye

        Mason, Michael Bender, Kaye Mason, Lori Garner, or Talitha Miller from:

            A. Altering, adding to, deleting entries, destroying files or otherwise modifying

                the record of case 2016 D 9534 held by The Clerk, except to transfer this

                case to an adjoining county;

            B. Filing any pleading or motion, or engaging in any other legal activity in case

                2016 D 9534;

            C. Billing me for services performed or ordering me to pay fees;

            D. Contacting me in any way except through counsel or, where unrepresented,

                responding to this suit or corresponding about the actionsin this suit.

 II.    Because the order to enjoin Iris Martinez in particular requires me to essentially

        have no legal activity in Cook County Circuit Court while Ms. Martinez is Clerk of

        the Circuit Court and this Temporary Restraining Order is in Effect, I ask that this

        court order Grace Dickler to order this case transferred to Lake County or to another

        convenient county in the interest of justice at the expense of The Clerk of The

        Circuit Court of Cook County.




                                                                                                2
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 3 of 72 PageID #:1265




           EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

                Expedited hearing is requested, Oral Argument is requested

  I.   In order to restore some integrity to case 2016 D 9534, I ask that this court through

       swift action provide the following preliminary injunctive relief:

          A. Order Tyler Technologies to provide to me a full report of all user activity in

              Odyssey File software under my identity, Megan Matt or Megan Mason as

              known to the court. This includes all actions taken by a user purporting to be

              Megan Matt/Mason, that user’s email address, IP address and the time and

              date of each event.

          B. Order Iris Martinez to tender to me all emails to and from Kaye Mason

              regarding case 2016 D 9534. This includes any email with my name or case

              number as a subject or my name or case number in the body of the email, as

              well as any other emails involving Kaye Mason and other Defendants that

              have not been disclosed to me previously.

          C. Order Iris Martinez to provide a public written policy to respond to digital

              identity theft that includes: make available to the public the name of a person

              who can correct the user information of an Odyssey File user; the phone

              number and email of that person. And further, that Ms.Martinez installs

              software features to confirm and verify the identity of users in the system

              that is more stringent than checking a box that says, I am this individual,

              when creating a user profile.




                                                                                                3
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 4 of 72 PageID #:1266




II. I ask that this court specifically take immediate steps to ensure the physical safety my

minor children, namely:

           a. To prohibit the children from leaving the country until resolution of this case

               adn to order their passports be held by a safe third party, such as a federal

               law enforcement agency, through the duration of this case.

           b. To require all parties named as defendants in this case to disclose within ten

               days any: business interests, property, life insurance policies, trusts or any

               other legal or financial entity related in any to A.D.M. or T.M.M. or both

               A.D.M. and T.M.M. or any other entity they know to be owned by A.D.M. or

               T.M.M., collectively or individually, even where defendants may only have

               indirect knowledge and are not themselves affiliated with such assets.

           c. To order that any defendant in this case to disclose within ten days any

               business interests with Mr. Peter Matt outside their official court roles and to

               disclose any business interests with either or both the minor children A.D.M.

               and T.M.M., examples of which might include but are not limited to roles as

               a: guardian, trustee, executor, director of a company, consultant or an

               attorney for any of the previously mentioned parties in a matter other than

               Illinois case 2016 D 9534..

           d. To prohibit any party named in this case from serving in any of the above

               named capacities or having any other business interest with Peter Matt,

               A.D.M., or T.M.M..

           e. I pray that this Court take any other measures it may see fit to protect my




                                                                                                  4
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 5 of 72 PageID #:1267




               children.

III. Any other measures this court may take to restore the integrity of case 2016 D 9534 and

to protect me and my children from harm by defendants in this case.



I present below a Memorandum in Support of Preliminary Injunction along with an

Affidavit in Support of a Temporary Restraining Order and documentary evidence in

support of my claim. Respectfully Submitted by,

                                                                           /S/ Megan Mason

                                                                             Plaintiff Pro Se




                                                                                               5
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 6 of 72 PageID #:1268




                  IN THE UNITED STATES DISTRICT COURT

                FOR THE NORTHERN DISTRICT OF ILLINOIS

MEGAN MASON,                            Case Number: 1:22-CV-2315
Plaintiff;

A.D.M., by his mother, Megan Mason,
Plaintiff;

T.M.M., by his mother, Megan Mason,
Plaintiff;


Vs.

THE CIRCUIT COURT OF COOK
COUNTY ILLINOIS, Defendant, et al;




        PLAINTIFF’S MEMORANDUM IN SUPPORT OF HER MOTION FOR

      PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER




                                                                                6
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 7 of 72 PageID #:1269




                                      Table of Contents

Facts p. 8-19

Argument p.

  I.   Plaintiffs have a strong likelihood of success on the merits. p. 20

 II.   Plaintiffs will suffer irreparable injury without injunction p. 21-23

III.   The Injunction will not substantially injure others and furthers the public interest p.

       23-25

Conclusion p. 25-26




                                                                                                 7
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 8 of 72 PageID #:1270




I, Megan Mason, plaintiff pro se present this memorandum in support of my Motion for

Temporary Restraining Order and Preliminary Injunction.

Facts

Conflict of Interest

   1. The American Bar Association clearly prohibits me from communicating with Robert

        Johnson, Kaye Mason or Iris Martinez in rule 4.2, which states, “if a person is

        represented in a matter, lawyers for others in the matter may not communicate with

        that represented person about the subject of the representation but instead must

        communicate about the matter through the person’s lawyer” (ABA Rule 4.2; Ill. Sup.

        Ct. R. 4.2).

   2. The American Bar Association has been unequivocal in its finding that this rule also

        applies to pro se litigants, as summarized in Formal Opinion 502, released on

        September 28, 2022: Communication with a Represented Person by a Pro Se Lawyer:

                “When a lawyer is self-representing, i.e., pro se, that lawyer may wish to
                communicate directly with another represented person about the subject of the
                representation and may believe that, because they are not representing another
                in the matter, the prohibition of Model Rule 4.2 does not apply. In fact, both the
                language of the Rule and its established purposes support the conclusion that
                the Rule applies to a pro se lawyer because pro se individuals represent
                themselves and lawyers are no exception to this principle.”

   3. Every communication I have made or intend to make to Robert Johnson, Kaye Mason,

        Iris Martinez, Lori Garner, and Talitha Miller or to unknown court employees relates

        to the facts of this federal case 1:22-cv-02315. This is self-evident because I have no

        relationship or business with these individuals other than Domestic Relations case

        2016 D 9534, every aspect of which relates to allegations of ongoing civil rights


                                                                                                  8
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 9 of 72 PageID #:1271




     abuses I have alleged in complaint 1:22-cv-02315.

  4. Local rules in Cook County Circuit Court, Illinois law, and family court customs

     require me to communicate directly with the judge presiding over a divorce case in

     which I am a party. Robert Johnson is defendant in this suit and also persists in acting

     as the presiding judge in case 2016 D 9534. These rules and customs also require me

     to communicate directly with the scheduler in case 2016 D 9534, Kaye Mason. These

     laws and norms of judicial procedure also require me to communicate directly with Iris

     Martinez in her role as The Clerk and with her employees, who facilitate the filing and

     some aspects of the service of documents related to case 2016 D 9534. There is not a

     single aspect of these communications that can be separated from case 1:22-cv-02315

     which asserts a wholesale violation of my civil rights in precisely these types of

     communications and state court actions.

  5. On July 6, 2022 Illinois State’s Attorney Joseph Hodal filed an appearance to represent

     Iris Martinez (Exhibit UU). To the best of my knowledge Mr. Hodal still represents

     Ms. Martinez in this matter. Ms. Martinez still acts as The Clerk responsible for case

     2016 D 9534 in which case I am a litigant and required to communicate with her

     directly in relation to matters directly raised in complaint 1:22-cv-02315.

  6. On July 8, 2022 Illinois State's Attorney Erin Walsh filed an appearance to represent

     Robert Johnson (Exhibit SS). To the best of my knowledge Ms. Walsh still represents

     Mr. Johnson in this matter. Mr. Johnson still acts as a judge in case 2016 D 9534 in

     which case I am a litigant and required to communicate with him directly in relation

     to matters directly raised in complaint 1:22-cv-02315.

  7. On July 13, 2022 Illinois States Attorney Elizabeth Brogan filed an appearance to


                                                                                                9
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 10 of 72 PageID #:1272




      represent Ms. Kaye Mason. (Exhibit TT) To the best of my knowledge Ms. Brogan

      still represents Ms. Mason in this matter. Ms. Mason still acts as a scheduler in case

      2016 D 9534 in which case I am a litigant and required to communicate with her

      directly in relations to matters directly raised in complaint 1:22-cv-02315.

   8. On July 14, 2022 Illinois States Attorney Joseph Hodal filed an appearance to

      represent Ms. Lori Garner (Exhibit VV). There has been some confusion about the

      spelling of Ms. Garner’s name. I believe her to be the only Ms. Garner working in the

      office of The Clerk of The Circuit Court with a named Lori (or “Laurie” or

      “Lorie”).To the best of my knowledge Ms. Garner is still represented by Mr. Hodal

      and to the best of my knowledge, Ms. Garner still regularly receives communication

      from me and communicates with me through her role as a supervisor in the office of

      The Clerk of the Circuit Court. (Exhibit RR)

   9. Defendants Iris Martinez, Robert Johnson, Kaye Mason and Lori Garner have not

      taken any action to separate themselves from direct involvement matters related to

      case 2016 D 9534.

   10. Since originally raising this complaint, employees of Ms. Martinez have continued

      abusive practices and escalated, requiring me to add Defendant Talitha Miller and

      Unknown Clerk Employees 1-3. It is my understanding that these parties will also be

      represented by Attorneys Joseph Hodal and Elizabeth Brogan. As a lay person I

      believe these individuals “have counsel” through the State of Illinois if they accept it

      and it is likely that they will accept free counsel through their employer.

   11. As Clerk of The Circuit Court of Cook County, Ms. Martinez’s name appears on the

      stamp of any filing in this court and she maintains control over the employee emails,


                                                                                               10
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 11 of 72 PageID #:1273




      Odyssey File software and other Clerk resources that I must engage as part of any

      necessary communication in divorce case 2016 D 9534. Without directly

      communicating with Ms. Martinez at any time I am in fact forced to communicate

      with her in almost any action I must take in case 2016 D 9534 so long as it is heard in

      Cook County Circuit Court and so long as Ms. Martinez acts as Clerk in Cook County.

   12. I believe the recently filed September 20, 2022 Amended Complaint in Case

      1:22-cv-02315 contains ample facts, supported by a preponderance of evidence, that

      make the need for all Defendants in this case to voluntarily cease contact with me

      outside the case. I believe this Complaint also clearly indicates that a Temporary

      Restraining Order is on the face of it appropriate to stop ongoing conflicts of interest.

Retaliation toward a Federal Witness and Intimidation of a Federal Witness Through

Legal Abuse Commenced Subsequent to Disclosure of My Whistleblowing Activity

   13. Subsequent to their learning about my allegations about their criminal activity,

      Defendants in this suit have unrelentingly persisted in actions to harm me, that cannot

      reasonably be explained as legitimate court activity. This court can assume the actions

      requiring urgent injunctive relief will continue because they are continuing, with

      specific, future court dates and punitive actions planned.

   14. I have also reported all of the actions I allege to be criminal to federal crimes to IRS

      Criminal investigators in October, 2021 and they have confirmed two ongoing

      investigations since at least December, 2021.

   15. Since at least November, 2021, Defendants Martinez, Johnson, Mason, Bender,

      Wehrman and Palen have known that I publicly allege that they have each committed

      individual acts and conspired in acts of fraud and corruption impacting me and my


                                                                                                  11
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 12 of 72 PageID #:1274




      children. At that time I first filed a Motion for Substitution of Judge with the primary

      basis being Mr. Johnson’s bias against me and my belief that his past personal actions

      make it impossible for him to issue a legitimate ruling as a judge in any case where I

      am a party.

   16. Defendants Martinez, Johnson, Mason, Bender, Wehrman, Palen and Garner have all

      known that I have submitted written testimony, under affidavit, accusing them of

      committing acts I believe to be clear federal crimes since at least May 3, 2022 when

      they received the first version of this complaint.

   17. In July of this year I desperately appealed to this court asking it to intervene to protect

      me and my children. My specific concerns were proposed actions by Defendants

      Wehrman, Bender and Johnson in particular to: impose at least $100,000 in financial

      sanctions, some portion of which is not dischargeable in bankruptcy proceedings; to

      imprison me for failure to pay court ordered fees without allowing me the right to

      plead my inability to pay;to take away my parenting rights completely, five years after

      I entered into a parenting plan and was divorced.

   18. As of this filing, parties have indeed proceeded in each of these actions, without

      evidence or any effort to pretend there is a legal basis to do so.

          a. On June 2, 2022, Defendant Christopher Wehrman filed a motion for fees

              without any supporting evidence, in a clear effort to retaliate against me and

              intimidate me as a federal witness.

                 i.   Mr. Wehrman directly referenced this lawsuit and, because this lawsuit

                      also discloses some serious financial crimes by Mr. Wherman’s client,

                      Peter Matt, he lists Mr. Matt’s $25,000 retainer for a federal criminal


                                                                                                12
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 13 of 72 PageID #:1275




                    attorney as a cost owed by me. (Exhibit WW)

              ii.   Mr. Wehrman specifically indicated that I ought to be forced to pay Mr.

                    Matt for fees to Dr. Gerald Blechman who, after multiple requests, has

                    never sent me an invoice or provided to the court a request for payment

                    after I paid him a retainer. Dr. Blechman has also been publicly accused

                    by me of having committed federal crimes. There is no supporting

                    documentation for any of the financial claims. (Exhibit WW)

         b. On June 21, 2022, Michael Bender filed a petition to have me found in

            contempt for failure to pay his fees. On many occasions I have appealed to the

            court that I cannot afford Mr. Bender’s fees and I have recently filed Chapter

            13 bankruptcy (Exhibit BBB) Although bankruptcy does not discharge child

            support obligations, a bankruptcy filing is a serious court action involving a

            party’s sworn testimony that she cannot pay her debts while meeting her living

            expenses. This, coupled with the fact that Mr. Bender and Mr. Johnson, along

            with Ms.Mason and Mr. Wehrman, on prior occasions have blocked my ability

            to have a hearing before Mr. Johnson to determine my ability to pay court

            ordred fees.In Mr. Bender’s petition he seeks to have me incarcerated with my

            “refusal” to pay fees as a basis (Exhibit AAA).

         c. On August 3, 2022, Christopher Wehrman prevailed in an action to sanction

            me for my truthful testimony against him and his co conspirators. The main

            argument in the motion - no facts or evidence was provided in support of Mr.

            Wehrman’s petition for fees - was that I made untrue statements against parties

            and engaged in vexatious litigation. The only documents used as evidence


                                                                                             13
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 14 of 72 PageID #:1276




            were pleadings I had drafted and entered into the record that disclose

            misconduct by defendants in this case, which is to say my public testimony

            about federal crimes by defendants in this case. I maintain the truthfulness and

            sincerity of all previous statements I have made in court filings and no fact was

            presented to indicate I had spoken a mistruth. Nevertheless Mr. Johnson

            sanctioned me and imposed harsh financial penalties, though I had repeatedly

            filed pleadings and made statements to Mr. Johnson to indicate I was

            financially destitute and filing federal bankruptcy due to prior orders.(Exhibit

            BBB)

         d. On September 13, 2022. Without a piece of evidence or a trial of fact, my

            children have been taken from me through an order from the bench by Robert

            Johnson. After being their primary caregiver their entire life I am prevented

            from speaking to my children, zooming with my children, hugging my

            children, or having the children in my home. I am required to pay a visitation

            supervisor named Louis Sanchez, chosen by Michael Bender, $70 per hour. Mr.

            Sanchez requires cash payment and a minimum of three hours per visit. So I

            am required to pay over $200, cash, with no invoice, to have a strange man

            come into my home while I see my children (Exhibit QQ).

               i.   A single document, called evidence but I believe not generally

                    considered an exhibit that could be shared in court, was used in support

                    of the action. This was a note written by a custody evaluator who did

                    not testify or make himself available for cross examination, who

                    conducted interviews and psychological tests and was engaged for a


                                                                                            14
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 15 of 72 PageID #:1277




                    year, yet provided no report to the court after more than a year. The

                    note was in fact almost exclusively comprised of quotes from an email

                    from Mr. Matt, quoting me, then quoted by this custody evaluator. I

                    don’t think it would have been considered by a neutral, competent

                    judge as evidence. (Exhibit QQ).

              ii.   This note, which does not meet the standard of what I believe is usually

                    called evidence, particularly noted comments I made, according to Mr.

                    Matt, according to Dr. Blechman, while testifying before Judge

                    Matthew Link on a motion to substitute Robert Johnson. According to

                    Dr. Blechman, Mr. Matt writes:

                           “During the hearing I was a little frightened to hear how her
                           mind works these days. She was saying things like “....you know,
                           first of all I love democracy. And January 6, I saw people
                           storming the Capital and so I feel spiritually and emotionally
                           called to protect democracy. And my understanding of a judge’s
                           role in an American courtroom is that it is a sacred duty to
                           uphold the judicial process in that court. And so, Mr.
                           Trowbridge’s malfeasance only matters here because Judge
                           Johnson, Mr. Wehrman, and Mr. Bender observed it over the
                           course of four months and did nothing to intervene.” (Exhibit
                           QQ)



         e. On this same date, September 13, 2022, Robert Johnson had planned to have

            me incarcerated at the request of his mentor Michael Bender (Exhibit AAA)

            Although there is a standing order in the Domestic Relations Division that

            hearings take place over zoom, Mr. Bender wished to have me taken into

            custody by The Sheriff of Cook County who maintains deputies and a holding

            cell in The Daley Center. At the request of Mr. Bender, Robert Johnson and


                                                                                            15
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 16 of 72 PageID #:1278




              Kaye Mason ordered this hearing to take place in The Daley Center. (Exhibit

              YY).

          f. On September 13 Mr. Johnson indicated that as soon as the temporary stay on

              other financial orders as part of my Section 13 Bankruptcy case are lifted I will

              be called back to The Daley Center to “answer to the financial allegations”. I

              believe this is so that he will be able to find me wilfully in contempt of court

              and order The Sheriff of Cook County to take possession of my physical

              person. Because I cannot pay the fees I will have no way to purge the ruling,

              which is to say no “keys to my own jail cell”. This will lead to me losing my

              job once my paid time off is used up, unless I am terminated simply for being

              incarcerated. This will also lead to my eviction if my financial assets are seized

              to pay Mr. Bender as it would leave me unable to pay rent.

   19. In addition to the previously anticipated actions, parties are also seeking to have me

      declared mentally ill. On June 28, 2022 Mr. Wehrman filed a motion for the court to

      order a 215(d) Evaluation, which is an Illinois evaluation of a party in a lawsuit where

      parties have submitted conflicting evidence and reports as part of a legal proceeding.

      There are no reports. There is no proceeding. I was divorced five years ago. As with

      other actions this motion is not supported by a piece of evidence or by a fact, much

      less a preponderance of evidence or multiple facts that would normally be part of a

      proceeding worthy of court time and attention.(Exhibit ZZ)

   20. As it happens I do not have a diagnosed mental illness that impedes my sense of

      reality or ability to meet life needs, specifically when it comes to parenting decisions. I

      don’t know of a reason that I would believe I have a mental illness that would impair


                                                                                                 16
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 17 of 72 PageID #:1279




      my ability to understand facts and tell the truth. This is the first and only time someone

      has suggested that I have a mental illness that impedes my life functioning. I think it

      should be supported by some evidence if it is to be considered anything other than

      intimidation of a federal witness.

   21. My mental fitness was not questioned prior to public disclosure that I have reported

      federal crimes by Defendants in this case.

   22. Iris Martinez has altered the public record of case 2016 D 9534 since I first disclosed

      her negligence and misconduct. On July 21, 2020 Robert Johson, or someone

      purporting to be him, entered an order “approving” “my” request to appear pro se. I

      never authorized or intended to do any such thing and had not spoken to or seen Mr.

      Johnson since the winter or fall of 2019. At that time, and until October, 2020 when

      Mr. Trowbridge stepped down I believed Mr. Trowbridge was representing me.

          a. On April 30, 2022 I printed a copy of the public docket on The Clerk’s website.

              In this version of the public docket it indicates that on July 21. 2020, Robert

              Johnson entered an order approving “my” request to appear pro se. No attorney

              is indicated.

                 i.   Clerk employees have refused my repeated request to see what was

                      “accepted” on this date. Because I didn’t file an appearance I wanted to

                      see who signed a motion to appear and attested to be me. They have

                      responded that there is nothing filed, just an appearance. I still don’t

                      understand how that is possible because the activity indicates

                      “Appearance filed”.

          b. On September 30, 2022 I printed this same docket and noticed this same entry


                                                                                                 17
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 18 of 72 PageID #:1280




              for the July 21, 2020 appearance had been altered. Instead of no attorney listed

              it now indicates that on July 21, 2020 Jonathan Merel PC was my attorney. In

              fact I did retain an attorney from Jonathan Merel a year later in 2021 when I

              retained Alexandra Brinkmeier. I did not know anyone from Jonathan Merel or

              retain them before July, 2021.

          c. Clearly Iris Martinez or someone under her authority has altered the record in

              case 2016 D 9534 subsequent to the commencement of this case .

My Family is Being Destroyed

   23. My older son, A.D.M., has significant intellectual disabilities and has been particularly

      reliant on my emotional and physical support his entire life. A.D.M. does not have a

      strong understanding of time and I believe A.D.M. thinks he’s lost his Mama forever.

      Whenever I see him he cries and asks me why he can’t come home. For A.D.M. any

      delay in action by this court is too much to bear.

   24. My ten year old son T.M.M. is even more devastated and has stated to me on two

      occasions that he will run away from his father’s house if he is not allowed to come

      home. When T.M.M. learned that Mr. Johnson ordered my children away through

      purported legal action, “Why can’t you just buy a judge?”. I explained that one cannot

      buy a judge. T.M.M. said, “But why can’t you just buy Judge Judy to fix this?”.

   25. It is unfathomably dangerous to expose young children to corrupt judicial actors for

      even the briefest period. I have encountered and read many opinions by high court

      judges regarding the impact of public corruption on citizens, which point out correctly

      that it is bad for our society if citizens don’t believe the court is fair. But I would ask

      this court to specifically and seriously consider the impact of judicial corruption on a


                                                                                                    18
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 19 of 72 PageID #:1281




      young child forming his fundamental sense of right and wrong and how the world

      works. There ought to be no tolerance for uncertainty or even the slightest taint of

      corruption if there is a question about the fairness of a court deciding if two little boys

      get to have their mom.

   26. I have told my son that he has to have faith that God wants kids to be with the people

      who love him and that there are good people working to make sure kids don’t lose

      their mom. I still have faith in God and I believe God wants kids to be safe, but I

      believe my son and I would both benefit from direct evidence of the existence of a

      higher government power that believes children shouldn’t lose their mom to punish her

      for whistleblowing and that “buying Judge Judy” isn’t how justice is achieved.

   27. I have experienced intense pain and anxiety as a result of the forced separation of my

      children. It is almost impossible to make the pain stop. I find it almost impossible to

      work or focus on anything but getting my children back.

   28. The financial abuse has demoralized me and removed my motivation to work toward a

      future. I used to believe I could work hard and build a good life for my boys, even buy

      them a home. With bankruptcy that now seems impossible. I tripled my salary, I got a

      good job and yet as of this writing, I can only provide meaningful financial support to

      my children if I die and they are given the proceeds from my life insurance.

      Everything else I own or could contemplate owning in the next decade has been and

      will continue to be taken by Defendants in this case who maintain financial control

      over me, particularly Robert Johnson and Michael Bender.

   29. My job is constantly in jeopardy and following the court forced bankruptcy I do not

      anticipate being able to get another job or otherwise advance in my career.


                                                                                                19
 Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 20 of 72 PageID #:1282




     Argument

I.     Plaintiffs have a strong likelihood of success on the merits.

     My claims are uncontested and ought to be taken as prima facie fact.

        28. Multiple defendants in this case, directly involved in ongoing litigation at the state

            level that involves me, were publicly accused by me of serious crimes on or before

            November 30th, 2021 through my truthful attestations and testimony before an Illinois

            Court. These are incredibly sophisticated individuals with professional legal

            experience if not actually members of the Illinois Bar. None, to my knowledge, have

            made oral or written statements to contradict the facts I have repeatedly raised over the

            last eight months. My claim must therefore be taken as fact on a prima facie basis.

     The prima facie basis for urgent injunctive relief.

        29. It is impossible to imagine that the tremendous volume of questionable acts I have

            documented in my complaint and motion could all be explained away or dismissed as

            misunderstanding. Even while generously assuming that I am much more ignorant in

            law than most other parties in this case, I do not believe it is possible to explain what I

            have documented as part of normal judicial functions.

        30. I do believe I am likely to succeed on the merits, eventually, though it is a long tedious

            process to create a complaint worthy of federal court resources out of a lay person’s

            interpretation of misconduct and googling.

                       a. So in considering whether I, Megan Mason, am likely to succeed, I

                           would ask this court to consider whether the facts presented to the court

                           contain significant evidence that is likely to prove a claim worthy of a

                           federal civil rights suit. I believe if you imagine the facts of my case


                                                                                                      20
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 21 of 72 PageID #:1283




                       perfectly argued and explained by a professional federal attorney, I

                       would almost certainly prevail. I believe the merits of the case are

                       significantly better than I am as a lawyer and that those merits are what

                       is meant to be considered.

                   b. To that end, I also believe that all of the injunctive relief sought would

                       be required if prolonged litigation (more than a month) seems necessary

                       based on the merits of the case. Clearly nobody belongs as an officer of

                       the court, court appointee or judge over a woman who is suing them.

                       And this court can swiftly resolve this matter by finding that I have

                       even the slightest basis to pursue litigation, which I think is supported

                       by the facts presented.

  I.   Plaintiffs will suffer irreparable injury without injunction

       A.     Ongoing, unrelenting abuses and fraud

            31. Since raising this issues in this case, Ms. Iris Martinez has persisted in

               maintaining a false address for my service address and refused to enable e

               service to me at my real address, though I am pro se. It is reasonable to

               anticipate I will suffer future irreparable injury because I am currently suffering

               irreparable injury by ongoing denial of my First, Fourth and Fourteenth

               Amendment Rights..

            32. I have a right to pursue remedy through legal actions here and in the future,

               particularly in the event that more facts are disclosed or future criminal

               prosecutions occur in this matter. Ms. Martinez has already demonstrated a

               wish to cover up malfeasance by, sometime after April 30, 2022, altering the


                                                                                                21
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 22 of 72 PageID #:1284




             record in case 2016 D 9534 to indicate, falsely, that attorney Jonathan Merel

             (Alexandra Brinkmeier) was in attendance when Robert Johnson entered a

             fraudulent pro se appearance, without my awareness, on July 21, 2020. It is

             most certainly reasonable to assume that Ms. Martinez or someone in her stead

             will further corrupt, alter and conceal misconduct reflected in the record,

             requiring swift intervention by this court.

     B.     Witness Retaliation

          34. I have been, am being, and anticipate that I will suffer witness retaliation and

             intimidation by Robert Johnson if I am forced to remain under the authority of

             Robert Johnson, personally using the authority of The Illinois to abuse me

             through:

                 a. Forced separation from my children

                 b. Permanent damage to my reputation

                        i)    I have been labeled as a dangerous woman who abuses children,

                              without trial of fact under Illinois law, simply for reporting

                              Robert Johnson’s crimes.

                        ii)   I have been forced into bankruptcy and continue to be forced to

                              reveal embarrassing information about my personal finances,

                              both factors being very important to the career of a financial

                              advisor.

                 c. Poverty. Though I make more money than I ever have in my life, I am

                     constantly living in poverty due to court imposed financial sanctions.

                     With the imposition of at least $100,000 more in sanctions now


                                                                                                 22
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 23 of 72 PageID #:1285




                     contemplated in actions before Robert Johnson, acting as trial judge, I

                     do not understand how I will support myself.

                 36. Incarceration. It has been terrifying to contemplate being incarcerated. I

                     fear how it will disrupt my life, what it will do to my reputation, and I

                     fear being assaulted or killed in jail. I do not believe there is any legal

                     basis for me to be incarcerated or contemplate incarceration and this

                     fear is wholly based on being forced under the control of Michael

                     Bender and Robert Johnson.

   C. A.D.M. and T.M.M. are minor children in need of a parent who may advocate for

       them.

                 36. In addition to my parenting time, Judge Johnson completely revoked

                     my right to make educational and medical decisions about my children.

                     My children, A.D.M. and T.M.M. are without a competent, empathetic

                     legal advocate through this termination of their mother’s rights. The

                     children’s father is not competent to make decisions about the children

                     that is in their interest and has on prior occasions used the children in

                     schemes to defraud businesses and the federal government.

                 37. I am the only parent A.D.M. and T.M.M. have who is capable of

                     empathy and care that would be typical of a healthy parent. Without me

                     they presently do not have a guardian who is capable of healthy

                     nurturing.



 II.   The Injunction will not substantially injure others and furthers the public


                                                                                                 23
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 24 of 72 PageID #:1286




      interest

         38. As discussed extensively in my Affidavit in Support of a Temporary

             Restraining Order, I am the only party in this suit who has or could have a

             beneficial interest in case 2016 D 9534. Iris Martinez, Robert Johnson, Kaye

             Mason, Michael Bender and other clerk employees cannot “want” or “need” to

             be involved with me in any way professionally. The court is neutral. A neutral

             judge does not refuse to recuse himself because he wants to take a woman’s

             children away and send her to jail. A neutral clerk does not refuse to transfer a

             case out of district because she wants to hide evidence of fraud. Neutral

             employees do not care what cases are handled in their workplace. A neutral

             attorney would want to remove any hint of conflict in a case.

         39. I do believe where it comes to a lay person’s sense of the court, my opinion is

             valuable as a lay person. The single fact of my having read an email from Dr.

             John Palen, in the role of court ordered parenting coordinator, wherein he

             writes, “I want to be paid. It is as simple as that.”, when no financial allocation

             motions were contemplated or pending, is disturbing and awful to an outsider.

                 a.   I humbly assume that there may be explanations I do not yet

                      understand.

                 b. But even if the email is explained, what matters is what a normal

                      woman would think if she read this. A normal citizen of Illinois does

                      not expect this of court appointees, and certainly does not expect a

                      judge to participate in such an unsavory ex parte chat.

                 c. This is but one example of disturbing activity that requires this court to


                                                                                              24
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 25 of 72 PageID #:1287




                       immediately remove parties from my case. And this one disturbing

                       example is, in itself, enough basis to remove parties involved in the

                       conversation from any involvement in my state court proceedings

                       permanently, long ago.

                   d. I can truly think of no person or group in Illinois that wants to see a

                       court appointees asking for what appears to be a bribe and for a mother

                       who witnesses this solicitation to be forced to be under the authority of

                       participants in this disturbing act.

                   e. Removing all parties from my case is, just on the basis of this one

                       email, absolutely and fundamentally in the interest of the public,

                       regardless of expense or burden on parties involved.

                   f. I could enumerate many more reasons that the public interest is harmed

                       by these defendants’ stubborn refusal to remove themselves from case

                       2016 D 9534, but I believe the public benefit of transfer and enjoining

                       parties from further action in this case is self evident to the reader of

                       this complaint and motion.



Conclusion

 I have experienced a lifetime of adversity, including childhood poverty and prolonged

homelessness in early childhood. But I was always a positive, hopeful person prior to the

actions described in this lawsuit. I could always think of a goal or something I could do to

make my life better. This would get me through hard times. But I find myself without hope. I

don’t know how to stop the pain of losing my children and I don’t know how to get them back


                                                                                                   25
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 26 of 72 PageID #:1288




unless I can go to a court and tell the truth to someone who cares about my children’s well

being and who is empowered to help us.

 This court is not able to fix all problems or to make sad people happy, but this court is here

to protect hope. People have hope when they believe they live in a fair society and when they

believe courts - though overburdened, clumsy and imperfect - will generally trend toward

what is right and true.

 From my understanding, this court is not here to adjudicate post-decree divorce rulings,

though it is welcome to if it wishes! But I do believe this court is here to make sure that a

citizen engaged truthfully and justly in a state court proceeding is able to have hope. Hope is

available to people when they believe that truth and facts matter and that when they go to

court they have at least a chance of prevailing.

 I remain hopeless until I can appear before a neutral judge in a neutral venue and have my

truthful claims heard. This can only be achieved by this court exercising its authority to

remove any defendants in this case from any position of authority over me. I pray that it does

so.




                                                                      Respectfully Submitted by



                                                                                 /s/Megan Mason

                                                                 Megan Mason, Plaintiff Pro Se

                                                                                   October 5, 202


                                                                                                26
  Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 27 of 72 PageID #:1289
                                        EXHIBIT PP

April 30, 2022 Docket in Odyssey File
  Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 28 of 72 PageID #:1290
                                    EXHIBIT PP Continued


July 21, 2020 Appearance as recorded in April 30, 2022 Docket
                           Case:
      All Domestic Relations  cases1:22-cv-02315       Document
                                    will be heard by phone or video. #: 40 Filed: 10/05/22 Page 29 of 72 PageID #:1291
      Go to http://www.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KAcSi8E%3d&portalid=0
          to get more information and Zoom Meeting IDs.
      Remote Court Date: No hearing scheduled
                                                            EXHIBIT QQ                                       FILED
                                                                                                          4/28/2022 3:33 PM
                                                                                                          IRIS Y. MARTINEZ
                                                                                                          CIRCUIT CLERK
                                                                                                          COOK COUNTY, IL
FILED DATE: 4/28/2022 3:33 PM 2016D009534




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                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 31 of 72 PageID #:1293
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FILED DATE: 4/28/2022 3:33 PM 2016D009534
                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 32 of 72 PageID #:1294
                                                                                EXHIBIT QQ Continued
FILED DATE: 4/28/2022 3:33 PM 2016D009534
                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 33 of 72 PageID #:1295

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FILED DATE: 4/28/2022 3:33 PM 2016D009534
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FILED DATE: 4/28/2022 3:33 PM 2016D009534
                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 35 of 72 PageID #:1297

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FILED DATE: 4/28/2022 3:33 PM 2016D009534
                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 36 of 72 PageID #:1298

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FILED DATE: 4/28/2022 3:33 PM 2016D009534
                                            Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 37 of 72 PageID #:1299

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FILED DATE: 4/28/2022 3:33 PM 2016D009534
           Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 38 of 72 PageID #:1300


Order                                                                             ^02/25/21KXGJ)002

                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                         EXHIBIT RR

                                                    Judge Reber? Johns ^-2156
                                                i        SFT3 20'
                                                                          No
                                                 ■ CLE^O^ THE‘^RCl IT COURT
                                                       OF■cook coun; y, il  j




                                                             ORDER




Attorney No.:             /

Name: ________ /r_________________
j-Vtty. for:          /_________ /_______

Address:        /_________ /_________ /__________
City/ S fate / Lip:          /_________/_____________

Telephone:               /           /_______________




               IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
        Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 39 of 72 PageID #:1301
                                      EXHIBIT RR Continued

Order                                                                      (02/25/21) CCG 0002

                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS




                                             ORDER




                                                  ENTERED:


Address;                      /V<-,  4^
City/State/Zip:              IL. &sCI<
rdephonc-.




             IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
        Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 40 of 72 PageID #:1302
                                            EXHIBIT RR Continued
Order                                                                      (02/25/21) CCG 0002

                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS




                                            ORDER




Attorney No.:




          IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
  Case:
   Case:1:22-cv-02315
         1:22-cv-02315Document
                       Document#:#:40
                                    26Filed:
                                       Filed:10/05/22
                                              07/08/22Page
                                                       Page41
                                                            1 of 72
                                                                 1 PageID
                                                                    PageID#:1036
                                                                           #:1303

                                                  EXHIBIT SS
                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title:                                                Case Number:


An appearance is hereby filed by the undersigned as attorney for:


Attorney name (type or print):

Firm:

Street address:

City/State/Zip:

Bar ID Number:                                             Telephone Number:
(See item 3 in instructions)

Email Address:

Are you acting as lead counsel in this case?                                         Yes           No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                           Yes           No

If this case reaches trial, will you act as the trial attorney?                      Yes           No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature:            S/
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
       Case:
        Case:1:22-cv-02315
              1:22-cv-02315Document
                            Document#:#:40
                                         32Filed:
                                            Filed:10/05/22
                                                   07/13/22Page
                                                            Page42
                                                                 1 of 72
                                                                      2 PageID
                                                                         PageID#:1102
                                                                                #:1304


                                                  EXHIBIT TT
                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                 ATTORNEY APPEARANCE FORM
NOTE: In order to appear before this Court an attorney must either be a member in good standing of this Court’s general bar
or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through 83.14.


In the Matter of                                                  Case Number: 22 CV 02315

MEGAN MASON,
           Plaintiff,
   v.

THE CIRCUIT COURT OF COOK
COUNTY ILLINOIS, et al.,
             Defendants.
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Defendant Kaye Mason
Name Elizabeth F Brogan

SIGNATURE /s/ Elizabeth F. Brogan

FIRM COOK COUNTY STATE’S ATTORNEY’S OFFICE


STREET ADDRESS 500 RICHARD J. DALEY CENTER


CITY/STATE/ZIP CHICAGO, IL 60602


ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                   TELEPHONE NUMBER
6298657                                                  (312) 603-6638
ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                                                     YES NO 


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                                                    YES         NO 


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR?                                                      YES        NO 




IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                                  YES         NO 
     Case:
      Case:1:22-cv-02315
            1:22-cv-02315Document
                          Document#:#:40
                                       32Filed:
                                          Filed:10/05/22
                                                 07/13/22Page
                                                          Page43
                                                               2 of 72
                                                                    2 PageID
                                                                       PageID#:1103
                                                                              #:1305

                                        EXHIBIT TT Continued

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL              APPOINTED COUNSEL 




                                      CERTIFICATE OF SERVICE

            I, Elizabeth F. Brogan, Assistant State’s Attorney, hereby certify that copies of the foregoing
   Appearance were served pursuant to the District Court’s ECF system as to ECF filers, including
   Plaintiff’s counsel, on July 13, 2022.
                                                                    By: /s/ Elizabeth F. Brogan
                                                                    Elizabeth F. Brogan
  Case:
   Case:1:22-cv-02315
         1:22-cv-02315Document
                       Document#:#:40
                                    24Filed:
                                       Filed:10/05/22
                                              07/06/22Page
                                                       Page44
                                                            1 of 72
                                                                 1 PageID
                                                                    PageID#:1033
                                                                           #:1306
                                                EXHIBIT UU
                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Mason v. Circuit Court of Cook                 Case Number: 22-CV-2315
            County, et al.

An appearance is hereby filed by the undersigned as attorney for:
Iris Martinez and Dorothy Brown
Attorney name (type or print): Joseph A. Hodal

Firm: Cook County State's Attorney's Office(Civl Action Bureau)

Street address: 500 Richard J. Daley Center

City/State/Zip: Chicago, Illinois 60602

Bar ID Number: 6283095                                     Telephone Number: 312-603-5470
(See item 3 in instructions)

Email Address: joseph.hodal@cookcountyil.gov

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 07-06-2022

Attorney signature:            S/ Joseph A. Hodal
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
  Case:
   Case:1:22-cv-02315
         1:22-cv-02315Document
                       Document#:#:40
                                    35Filed:
                                       Filed:10/05/22
                                              07/14/22Page
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                                                                 1 PageID
                                                                    PageID#:1108
                                                                           #:1307
                                             EXHIBIT VV
                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Megan Mason, et al., v. The                    Case Number: 22-cv-02315
            Circuit Court of Cook County,

An appearance is hereby filed by the undersigned as attorney for:
Laurie Garner (A/K/A Lorie Garner)
Attorney name (type or print): Joseph A. Hodal

Firm: Cook County State's Attorney's Office (Civil Actions Bureau)

Street address: 500 Richard J. Daley Plaza, 5th Floor

City/State/Zip: Chicago, IL 60602

Bar ID Number: 6283095                                     Telephone Number: 312-603-5470
(See item 3 in instructions)

Email Address: joseph.hodal@cookcountyil.gov

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on July 14, 2022

Attorney signature:            S/ Joseph A. Hodal
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 46 of 72 PageID #:1308


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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 47 of 72 PageID #:1309

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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 48 of 72 PageID #:1310
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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 49 of 72 PageID #:1311


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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 51 of 72 PageID #:1313


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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 52 of 72 PageID #:1314

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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
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                                                         EXHIBIT WW Continued




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DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
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                                            EXHIBIT WW Continued
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 55 of 72 PageID #:1317

                         EXHIBIT XX
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 56 of 72 PageID #:1318
                                 EXHIBIT XX Continued
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 57 of 72 PageID #:1319
                                    EXHIBIT XX Continued
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 58 of 72 PageID #:1320
                                  EXHIBIT XX Continued
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 59 of 72 PageID #:1321

                                  EXHIBIT XX Continued
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 60 of 72 PageID #:1322

                                 EXHIBIT YY
Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 61 of 72 PageID #:1323
                                Exhibit YY Continued
                           Case:
      All Domestic Relations  cases1:22-cv-02315       Document
                                    will be heard by phone or video. #: 40 Filed: 10/05/22 Page 62 of 72 PageID #:1324
      Go to http://www.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KAcSi8E%3d&portalid=0
          to get more information and Zoom Meeting IDs.
      Remote Court Date: No hearing scheduled                                                                FILED
                                                                EXHIBIT ZZ                                6/28/2022 11:54 AM
                                                                                                          IRIS Y. MARTINEZ
                                                                                                          CIRCUIT CLERK
                                                                                                          COOK COUNTY, IL
FILED DATE: 6/28/2022 11:54 AM 2016D009534




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                                                                                                          18465362
                                             Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 63 of 72 PageID #:1325
                                                                           EXHIBIT ZZ Continued
FILED DATE: 6/28/2022 11:54 AM 2016D009534
                                             Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 64 of 72 PageID #:1326

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FILED DATE: 6/28/2022 11:54 AM 2016D009534
                                             Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 65 of 72 PageID #:1327
                                                                              EXHIBIT ZZ Continued
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                                             Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 66 of 72 PageID #:1328
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                                             Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 67 of 72 PageID #:1329


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FILED DATE: 6/28/2022 11:54 AM 2016D009534
                           Case:
      All Domestic Relations  cases1:22-cv-02315       Document
                                    will be heard by phone or video. #: 40 Filed: 10/05/22 Page 68 of 72 PageID #:1330
      Go to http://www.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KAcSi8E%3d&portalid=0
          to get more information and Zoom Meeting IDs.
      Remote Court Date: No hearing scheduled                                                                FILED
                                                                                      EXHBIT AAA                                 6/21/2022 12:00 AM
                                                                                                                                 IRIS Y. MARTINEZ
                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                    CIRCUIT CLERK
                                                                   COUNTY DEPARTMENT, DOMESTIC RELATIONS                         COOK COUNTY, IL
                                                                                   DIVISION
FILED DATE: 6/21/2022 12:00 AM 2016D009534




                                                                                                                                 2016D009534
                                                                                                                                 Calendar, 23
                                             IN RE:                                          )                                   18351129
                                                                                             )
                                             PETER MATT,                                     )           Case No: 2016 D 9534
                                                                                             )
                                                            Petitioner,                      )
                                                    and                                      )
                                                                                             )
                                             MEGAN MASON,                                    )           Calendar: 23
                                                                                             )
                                                            Respondent.                      )


                                                PETITION FOR RULE TO SHOW CAUSE AND FOR A FINDING OF INDIRECT
                                                                       CIVIL CONTEMPT

                                                    NOW COMES the Guardian ad litem, MICHAEL IAN BENDER, of CAESAR &

                                             BENDER, LLP, and pursuant to 750 ILCS 5/506, asks this Honorable Court to issue a Rule to

                                             Show Cause against Respondent, MEGAN MASON (“MEGAN”), to show cause why she should

                                             not be held in indirect civil contempt for her contumacious disregard of this Court’s November 16,

                                             2021 Order, and in support thereof states as follows:

                                                    1. On June 6, 2019, this Honorable Court appointed MICHAEL IAN BENDER as

                                             Guardian ad litem in this matter. A true and correct copy of the June 6, 2019 Order is attached

                                             hereto as Exhibit A.

                                                    2. On November 16, 2021, this Honorable Court entered an order that states in pertinent

                                             part as follows:

                                                          “4. Respondent, Megan Mason, owes Michael Bender $4,629.75 for fees
                                                          incurred through October 7, 2021. Megan Mason shall pay Michael Bender
                                                          $500 per month until the $4,629.75 is paid in full. Said payments shall begin
                                                          on December 15, 2021 and shall continue on the 15th of each month
                                                          thereafter.”



                                                                                             1
                                               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 69 of 72 PageID #:1331
                                                                                      EXHBIT AAA Continued


                                                    A true and correct copy of the November 16, 2021 Order is attached hereto as Exhibit B.

                                                    3. MEGAN has paid $50.00 towards the November 16, 2021 Order and is in violation in
FILED DATE: 6/21/2022 12:00 AM 2016D009534




                                             the amount of $2,950.00.

                                                    4. A finding of indirect civil contempt requires proof of a valid court order and a

                                             willful violation of that order. Cetera v. DiFilippo, 404 Ill.App.3d 20, 41 (2010). The burden

                                             initially fallson the opposing party to show a violation of a court order by a preponderance of the

                                             evidence. Id.The burden then shifts to the alleged contemnor to show that the violation was not

                                             willful or contumacious and that he had a valid reason for noncompliance. Id.

                                                    5. A Rule should issue against MEGAN, and she show cause, if any, as to why she should

                                             not be held in indirect civil contempt of court for her failure to comply with this Honorable Court’s

                                             Order. Said Rule should be returnable instanter.

                                                    WHEREFORE, the Guardian ad litem, MICHAEL IAN BENDER, asks this Honorable

                                             Court for the following relief:

                                                    A. Enter an Order instanter issuing a Rule to Show Cause for MEGAN MASON to show

                                             cause, if any, why she should not be held in indirect civil contempt of court for her violation of the

                                             November 16, 2021 Order;

                                                    B. Cause MEGAN MASON to demonstrate as to why she should not be held in indirect

                                             civilcontempt of court;

                                                    C. Find MEGAN MASON in willful indirect civil contempt and set a $2,950.00 purge;

                                                    D. Remand MEGAN MASON to custody of the Sheriff of Cook County; and




                                                                                                2
                                               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 70 of 72 PageID #:1332

                                                                                     EXHBIT AAA Continued

                                                   E. For any and all other relief this Honorable Court deems just and equitable.
FILED DATE: 6/21/2022 12:00 AM 2016D009534




                                                                                                               Respectfully submitted,

                                                                                                               /s/ Michael Ian Bender
                                                                                                               Guardian ad litem




                                             Michael Ian Bender CAESAR & BENDER, LLP
                                             Guardian ad litem
                                             150 N Michigan Ave., Suite 2130
                                             Chicago, Il 60601
                                             (312) 236-1500
                                             Attorney No.: 63030
                                             service@caesarbenderlaw.com




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                                               Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 71 of 72 PageID #:1333


                                                                                         EXHBIT AAA Continued

                                                                                      VERIFICATION
FILED DATE: 6/21/2022 12:00 AM 2016D009534




                                                     Under the penalties as provided by law pursuant to 735 ILCS 5/1-109 of the Illinois Code
                                             of Civil Procedure, the undersigned verifies that the statements set forth in this pleading are true
                                             and correct, except to matters therein stated to be on information and belief, and as to such matters,
                                             the undersigned certifies as aforesaid that he verily believes the same to be true.

                                                                                                                   /s/ Michael Ian Bender
                                                                                                                   Guardian ad litem




                                             Michael Ian Bender CAESAR & BENDER, LLP
                                             Guardian ad litem
                                             150 N Michigan Ave., Suite 2130
                                             Chicago, Il 60601
                                             (312) 236-1500
                                             Attorney No.: 63030
                                             service@caesarbenderlaw.com


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Illinois Northern Bankruptcy Live System                                          https://ilnb-ecf.sso.dcn/cgi-bin/NoticeOfFiling.pl?1559692
                   Case: 1:22-cv-02315 Document #: 40 Filed: 10/05/22 Page 72 of 72 PageID #:1334
                                                   EXHIBIT BBB
                                                  United States Bankruptcy Court
                                                   Northern District of Illinois

         Notice of Bankruptcy Case Filing


         A bankruptcy case concerning the debtor(s) listed below was filed under Chapter 13 of the
         United States Bankruptcy Code, entered on 09/08/2022 at 2:19 PM and filed on 09/08/2022.

         Megan Elizabeth Mason
         419 Greenleaf Ave.
         Wilmette, IL 60091
         SSN / ITIN: xxx-xx-3327
         dba Augl
         dba The Books Right

              The bankruptcy trustee is:

              Thomas H. Hooper
              Office of the Chapter 13 Trustee
              55 E. Monroe St.
              Suite 3850
              Chicago, IL 60603
              312-294-5900
         The case was assigned case number 22-10247 to Judge Carol A. Doyle.

         In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions
         against the debtor and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or
         not exist at all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a
         debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to
         determine your rights in this case.

         If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at
         our Internet home page http://www.ilnb.uscourts.gov/ or at the Clerk's Office, Eastern Division, 219 S
         Dearborn, 7th Floor, Chicago, IL 60604.

         You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting forth
         important deadlines.


                                                                                   Jeffrey P. Allsteadt
                                                                                   Clerk, U.S. Bankruptcy Court




1 of 2                                                                                                                   9/8/2022, 2:31 PM
